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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JOSEPH HAYDEN,

                                Plaintiff,

          -v-
                                                                No. 17-cv-1894 (RJS)
 CITY OF NEW YORK, NYPD OFFICER                                       ORDER
 AHMED ABDALLA, and NYPD OFFICER
 ADAM KOTOWSKI,

                                Defendants.

RICHARD J. SULLIVAN, Circuit Judge:

         As set forth in the Court’s prior order of June 24, 2020 (Doc. No. 83), a jury trial in this case is

scheduled to begin December 1, 2020. On the advice of the Court’s epidemiologist, and at the direction of

the Chief Judge, concerns involving the potential spread of the COVID-19 virus over the holidays have

prompted the Court to adjourn all jury trials scheduled to take place during the two weeks following

Thanksgiving and the two weeks following New Year’s Day. Accordingly, IT IS HEREBY ORDERED

THAT the jury trial in this matter is adjourned sine die, and the pretrial conference scheduled for November

20, 2020 is also adjourned until the Court and the parties have rescheduled the jury trial. IT IS FURTHER

ORDERED THAT the parties are directed to submit a joint letter by November 13, 2020 indicating their

availability for a jury trial during the weeks of December 14, 2020, February 16, 2021, and February 22,

2021. The Court apologizes for any inconvenience caused by this necessary adjournment.

SO ORDERED.

Dated:          November 9, 2020
                New York, New York
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                                                      RICHARD J. SULLIVAN
                                                      UNITED STATES CIRCUIT JUDGE
                                                      Sitting by Designation
